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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

       v.                                                     24-000676-VEC

ALON ALEXANDER,
OREN ALEXANDER, and
TAL ALEXANDER,

       Defendants.

_________________________________/

              NOTICE OF MOTION TO SUPPRESS iCLOUD WARRANTS

       PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law, defendants

Oren Alexander and Alon Alexander, by and through counsel, will move this Court at the United

States Courthouse, 500 Pearl Street, New York, N.Y., 10007 at a date and time to be determined by

the Court, for an Order suppressing fruits of the illegal searches and seizures pursuant to iCloud

warrants.

                                    Respectfully submitted,

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